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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

                                    Case No. 17-cv-774-J-32MCR

  Commodity Futures Trading Commission,

         Plaintiff,

  v.

  Jason B. Scharf (d/b/a Citrades.com and
  AutoTradingBinary.com); CIT Investments
  LLC; Brevspand EOOD; CIT Investments
  Ltd; A&J Media Partners, Inc.; Michael
  Shah; and Zilmil, Inc.,

        Defendants.
  ______________________________________________/

    ORDER GRANTING RECEIVER’S UNOPPOSED SIXTH INTERIM APPLICATION
     FOR AN ORDER APPROVING AND AUTHORIZING PAYMENT OF FEES AND
              EXPENSES OF RECEIVER AND HIS PROFESSIONALS

         THIS CAUSE came before the Court upon the Receiver’s Unopposed Sixth Interim

  Application For An Order Approving and Authorizing Payment of Fees and Expenses of Receiver

  and His Professionals (the “Application”) [ECF No. ____]. The Court, having reviewed the

  Application, noting that the fees and costs requested therein are reasonable, necessary and

  commensurate with the skills and experience required for the activities performed and described

  therein, and that no objection to the Application has been filed, and otherwise being fully advised

  in the matter, finds good cause to approve the Application and grant the relief requested therein.

  Accordingly, it is -

         ORDERED as follows:

                 1.      The Application is APPROVED.
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                2.      The total amount of fees and costs that the Receiver and his Lead Counsel,

         Damian & Valori LLP, incurred during the Application Period in the amount of $19,734.82

         (comprised of $16,755.00 in fees and $2,979.82 in costs) hereby APPROVED.

                3.      The Receiver is AUTHORIZED to pay the Receiver and his Lead Counsel,

         Damian & Valori LLP, for fees and costs incurred during the Application Period as follows:

                     a. $359.20 in fees and costs incurred for Citrades-related work, to be
                        paid immediately from the Receiver’s Zilmil fiduciary account; and

                     b. $19,375.62, comprised of $14,367.12 in fees and costs incurred for
                        Zilmil-related work and $5,008.50 in fees and costs for general
                        receivership and administrative work, to be paid immediately from
                        the Receiver’s Zilmil fiduciary account.

                4.      The total amount of all of the fees and costs that the Forensic Accountant,

         Kapila Mukamal LLP, incurred during the Application Period in the amount of $206.75

         (comprised of $192.50 in fees, and $14.25 in costs) is hereby APPROVED.

                5.      The Receiver is AUTHORIZED to pay 100% of fees and costs that the

         Forensic Accountants, Kapila Mukamal LLP, incurred during the Application Period, to

         be paid immediately from the Receiver’s Zilmil fiduciary account.

                6.      The Court reserves final approval of all fees approved herein until such time

         as the Receiver is discharged of his duties in this matter and/or final disbursement of funds

         held by the Estate.

         DONE AND ORDERED in Chambers at Jacksonville, Florida, this ____ day of

  ___________, 2019.

                                               ________________________________
                                               Honorable Timothy J. Corrigan
                                               United States District Judge
                                               United States District Court
                                               for the Middle District of Florida

  Copies to:    All Counsel of Record

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